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             EXHIBIT 9
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               UNITED STATES DISTRICT COURT

                DISTRICT OF MASSACHUSETTS



    IN RE:   PHARMACEUTICAL

    INDUSTRY AVERAGE WHOLESALE       MDL No. 1456

    PRICE LITIGATION

                                     Master File

                                     No. 01-CV-12257-PBS

    THIS DOCUMENT RELATES TO:

                                     Subcategory

                                     No. 06-CV-11337-PBS

    United States of America,

    ex rel. Ven-A-Care of the

    Florida Keys, Inc., v.

    Abbott Laboratories, Inc.,

    CIVIL ACTION NO. 06-11337-PBS)      VOLUME I



              Videotaped Deposition of JAMES W.

    HUGHES, Ph.D., at 77 West Wacker Drive, 35th

    Floor, Chicago, Illinois, commencing at the hour

    of 9:13 a.m. on Tuesday, May 5, 2009.




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 1      Q. And do your opinions in this case also      1 pharmaceutical areas since that was the area
 2  draw upon any expertise you have in law and        2 where I was doing most of the work.
 3  economics?                                         3     Q. When have you worked on drug
 4     A. Well, to the extent if you define law        4 reimbursement policies as related to Medicare and
 5  and economics as being restricted to the idea of   5 Medicaid in the past?
 6  the common law moving away from inefficient rules 6      A. I would say fairly confidently in every
 7  towards efficient rules, probably not.             7 one of the class certification matters in
 8         But to the extent that law and              8 pharmaceuticals.
 9  economics is a discipline with a certain outlook   9     Q. Were there any other of your consulting
lOon how markets and actors within those markets      1 a engagements that provided or support any of your
11 work, I can't say it doesn't influence my          11 expertise in drug reimbursement policies for
12 thinking at all. But I don't think I can point     12 Medicare and Medicaid?
13 to something in my report that says yes, this is   13     A. Well, certainly my previous work in
14 a law and economics point.                         14 Connecticut and Montana, Nevada.
15         I mean all of these are just applied       15        It came up in, well, that was a class
16 micro-fields, and my point is I'm a broadly        16 certification matter.
1 7 practicing applied micro-economist.               17        Certainly in my role as a consultant in
18      Q. SO your area of expertise or areas of      18 Cardizem. That was the, I spoke about serving as
19 expertise you're drawing upon in connection with   19 a consultant when there was an opt-out plaintiff,
2 a this case include applied micro-economics, health 2 a which was a third-party payor. So I had to, in
21 economics, labor economics, industrial             21 order to construct the damage estimates that we
22 organization, antitrust, and law and economics?    22 made, I had to become familiar with the ins and
                                              Page 127                                                 Page 129

 1       A. You know, I think that's kind of overly      louts and the practices of that particular
 2   broad. I mean they're all subfields of, they're      2third-party payor, what their policies were
 3   all fields of applied micro-economics.               3towards reimbursement, what their policies were
 4           So I only hold myself out here as being      4towards putting brand drugs versus generic drugs
 5   an applied micro-economist. That's the main          5on the formulary, where on the formulary they
 6   thing one needs to understand to understand          6would put them, under what circumstances, what
 7   what's going on in this case in myopinion.           7would change when they would carve out their
 8       Q. Now, the consulting work that you've          8pharmacy benefit and have it run by a pharmacy
 9   done over the years in the health arena, what        9benefit manager, what sorts of rebates and under
10   experience do you have as a result of your          10what circumstances that they could get, did get
11   consulting work that qualifies you as an expert     11or could get, from brand name pharmaceutical
12   to testify in this case?                            12manufacturers, what sorts of incentives they were
13       A. Well, I believe, as I said before, in        13given by state, federal, or simply profit motives
14   my role as a consulting and testifying expert,      14for moving from brands to generics on the
15   I've had to familiarize myself several times over   15formularies, things like that.
16   the years with drug reimbursement policies of       16       Very detailed, it required getting very
17   state Medicaid agencies, Medicare, third-party      17detailed knowledge about how a number of
18   payors, pharmacy benefit managers, and the like.    18different reimbursement systems were working.
19           The assignments have called on me to        19    Q. Did any of your prior cases involve
2a   familiarize, I would say to deepen my               2aanalysis of the individual claims paid by a
21   familiarization with medical markets of all         21portion of the Medicaid programs?
22   kinds but YOU know. particularlv in the             22    A. There was time that we in many of the
                                                                             33    (Pages 126 to 129)
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 1   class certification cases I would make use of       1    because these were, they're not chemo drugs but
 2   these, what's the acronym, the state utilization,   2    they are anti-hematics, to relieve nausea in
 3   state Medicaid utilization data that appears on     3    chemo patients. So it was a relatively small
 4   the web, or at least used to appear on the web.     4    market because it was restricted to the State of
 5   So that's aggregate rather than individual claims   5    Connecticut. But, as I recall, there were still
 6   data.                                               6    several thousand of those claims.
 7          But there was analysis and manipulation      7           So what we were doing was that the
 8   of those data in the course of that work. And        8   plaintiffs expert had said, and I'll always
 9   that was two or three or four of those cases that    9   remember this number, that Medicaid reimbursed
10   we've talked about before.                          10   for these drugs at 90.25 percent of AWP.
11       Q. Are you talking about what is referred       11          So we went into the claims data to
12   to as the STUD data, S-T-U-D?                       12   review exactly what was the reimbursement because
13       A. I think so.                                  13   regardless ofwhat plaintiffs expert was saying,
14       Q. Have you ever worked with the SMRFIMAX       14   the state regulations for part ofthe period said
15   data before?                                        15   that these drugs would be reimbursed on an
16      A. I have not, no.                               16   as-billed basis up to $499. And then ifthe
17       Q. Your work with the STUD data -- I'm          17   doctor billed more than $499, the claim would be
18   sorry. Did you base any ofyour work on that         18   reviewed, rejected, reduced. But up to $499 it
19   data?                                               19   would simply be accepted.
20      A. I'm sorry. I need to correct something        20          So we got into looking at the
21   previously.                                         21   individual claims data to see what was actually
22          There was individual Medicaid claims         22   reimbursed and in effect what was the
                                            Page 131                                                     Page 133

 1   data that we analyzed in the Connecticut matter.    1    relationship between these reimbursements to the
 2   I'm sorry. I left that out.                         2    reimbursement formulas that the plaintiffs
 3          Was that SMRF data, was that MAX data,       3    expert was claiming, what was the relationship of
 4   I don't recall, but it was individual claims data   4    the individual reimbursements to the amounts that
 5   that was provided by the state.                     5    the state was saying it was reimbursing.
 6          It just seems to me there was, HUGR,         6       Q. Just one quick clarification and then
 7   H-U-G-R, was the acronym that I remember that as    7    we're done with the tape.
 8   I recall was data that was provided to us by         8          The Connecticut data related to several
 9   Connecticut Medicaid.                                9   thousand claims? Is that what you said?
10       Q. Was that claims level data?                  10      A. To the best of my recollection.
11       A. Yes.                                         11      Q. SO it was smaller than the data we're
12       Q. SO it would show on a particular date a      12   dealing with this case?
13   particular person got "X" units of a particular     13      A. Well, it was one state. It was two
14   drug?                                               14   relatively restrictive drugs. And it was over,
15       A. Yes.                                         15   yes, several thousand would be about right, yes.
16       Q. Did that data cover, well, describe the      16          MR. LAVINE: We better take a break.
17   scope ofthat data.                                  17          THE VIDEOGRAPHER: Going off the record
18       A. Well, it was specific to the drugs at        18   at 12:06 p.m.
19   issue which were primarily Taxotere and Anzemet,    19          (A recess was taken.)
20   which were Aventis drugs.                           20          THE VIDEOGRAPHER: Beginning of
21          So it was, you know, relative to other       21   Videotape No.3. Back on the record at 12: 15
22   Medicaid data I think it was relatively small       22   a.m.

                                                                               34 (Pages 130 to 133)
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 1   BY MR. LAVINE:                                      1            So in order to assess the adequacy or
 2       Q. With respect to your prior experience,       2    inadequacy of any particular damage methodology,
 3   in any of the other cases that you worked on as     3    you've got to go into the nitty-gritty details of
 4   an expert or a consultant, did you get the actual   4    everybody who is or wants to be a member of the
 5   underlying claims data and perform any analysis      5   putative class.
 6   on it?                                               6           So that means going into the payment
 7       A. It's my understanding that's what we          7   methods and the practices of all sorts of
 8   did in Connecticut, yes, to the best of my           8   third-party payors, not just private insurance
 9   recollection.                                        9   companies, but also to the extent, also Medicaid,
10       Q. But does that mean you didn't do it but      10   to a lesser extent Medicare, because the drugs
11   somebody else did it?                               11   that it, for example, Cipro wasn't a drug that
12       A. Yes. Somebody else did it at my              12   would be covered under Medicare Part B. And
13   direction, yes.                                     13   prior to Part D Cipro wouldn't be covered under
14       Q. Were there any other cases where you         14   Medicare, but certainly Medicaid was a big user.
15   actually got Medicare and Medicaid data and did     15           On the other hand, Taxotere and
16   an analysis of the paid claims?                     16   Anzemet, they're drugs more like the drugs in
17       A. Well, the paid claims, like I said,          17   this case. So Medicare and Medicaid are both at
18   I've used the utilization data that's online, but   18   issue there.
19   that's not, what I used was not individual claims   19           But in order to form an opinion about
20   data.                                               20   any particular damage methodology, you've got to
21          Again, in the Cardizem case it was           21   have a pretty intimate knowledge of what data are
22   individual claims data from a third-party payor     22   going to be available, what are the practices and
                                              Page 135                                                   Page 137

 1   but not from Medicaid.                              1    procedures of all of the actors who want to be
 2       Q. Just to clarify. In Connecticut who          2    members of this proposed class.
 3   did the actual hands-on analysis of the claims      3           So at least to, and that research,
 4   data?                                               4    regardless of who was doing data analysis at my
 5       A. A company called The Brattle Group was        5   direction, that research was all done by me.
 6   retained to keep custody of the data and to do       6   This was not anything that lawyers gave to me.
 7   what I asked them to do.                             7   This was not anything that I told a consulting
 8       Q. Can you spell that?                           8   firm to go find out what you can find out about
 9       A. Brattle Group?                                9   this.
10       Q. Yes.                                         10          The standard practice was rather for me
11       A. Sure, B-R-A-T-T-L-E.                         11   to do the research and then tell the consultants
12       Q. Is there any other reason that the           12   okay, here's what we know about Medicaid for the
13   consulting work that you've done helped to          13   Medicaid say CHIP program, Child Healthcare Plan
14   qualify you as an expert for the issues you're      14   in the state of Illinois, all right, so go look
15   addressing in this case?                            15   at the data and tell me, you know, are the
16       A. Well, again, in virtually every one of       16   reimbursements that are supposed to be in this
17   the class certification cases, in fact I think in   17   and the copayments that are supposed to be in
18   all of the class certification cases -­             18   this and this was actually showing up in the
19       Q. Pharmacy-related.                            19   data.
20       A. Pharmacy-related class certification         20          So, yes, I considered that through all
21   cases, there is the issue of how, I mean these      21   of this I have a fairly detailed knowledge of
22   are proposed damage methodologies.                  22   Medicaid and Medicare pharmacv reimbursement
                                                                              35 (Pages 134 to 137)
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 1       Q. -- as that supports your expertise in        1     Michigan Law School.
 2   this case.                                          2            When I was an undergraduate, I was a
 3          You said you were trained in health          3     research assistant for health economist when I
 4   economics. What training in health economics are    4     was at Boston University. So there was a lot of
 5   you referring to?                                   5     training in there.
 6       A. Classwork. I was planning, before I          6            But maybe as an undergrad, I can't
 7   turned to medical malpractice, I was planning on     7    remember if I ever took a course that was
 8   doing my Ph.D. thesis on a healthcare topic.         8    entitled "Health Economics."
 9          So there was a lot of background              9        Q. In terms of your experience in labor
10   reading ofjournal articles and books that I did     10    economics, industrial organization, and
11   in preparation for that. And I just never, I        11    antitrust, and law and economics, is the basis
12   just chose to go a different direction once I got   12    for those similar as to what you just described
13   exposed to law and economics. The topic was more    13    for health economics?
14   interesting, the data were more readily             14        A. No.
15   available, so I went that route.                    15           I have certainly studied law and
16          So that's why I consider myself to be        16    economics and of course taught it several times.
17   trained in health economics.                        17           Labor economics I did not take a course
18          Then also when you teach a course,           18    in.
19   maybe some people do it this way, but the lay       19           Industrial organization I had several
20   person, if! may, may think you pick up a            20    courses in, three that come to mind off the top
21   textbook and you teach from that. But that's not    21    of my head.
22   really the way teaching works.                      22           So there is much more academic training
                                            Page 143                                                       Page 145

 1          I was certainly qualified, felt              1    there.
 2   qualified, to teach health economics. So then       2       Q. In any of your work, have you actually
 3   you go through, in my experience when I'm doing a   3    calculated a damage figure in a false claims
 4   new course I spend six to eight hours preparing     4    case?
 5   for every hour in the classroom.                    5       A. In a false claims case, no.
 6          So that's going to be not just dealing,      6       Q. Have you ever done any data analysis
 7   and, in fact, probably not dealing much at all      7    where you would extrapolate from experiences in
 8   with the textbook, but rather familiarizing one's   8    one Medicaid program to the reimbursement
 9   self with journal articles and other materials      9    experience you would see in another Medicaid
10   that you need to teach the course that you're       10   program?
11   going to teach.                                     11      A. Not to my recollection, no.
12      Q. When you talk about classwork, you're         12      Q. Have you had any prior experience in
13   referring to when you were a student?               13   connection with analyzing damages in connection
14      A. Well, in that answer I was referring to       14   with the Medicare program J-Code reimbursement?
15   both.                                               15      A. Calculating damages, no.
16      Q. Well, first as a student and then as a        16      Q. Any type of reimbursement experience
17   teacher.                                            17   related to Medicare J-Codes?
18      A. Right.                                        18      A. Certainly in the AWP litigation, I
19          But as a student, again, the training        19   certainly had to know something about it for the
20   was, I simply don't remember. I don't know that     2a   reports that I wrote.
21   I ever had a course entitled "Health Economics,"    21      Q. Did you look at the way any state
22   although I took courses in health law at the        22   Medicaid programs may have reimbursed based UDon

                                                                                37    (Pages 142 to 145)
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 1          (The record was read back as                1     not going to be a situation where everybody is
 2          requested.)                                 2     going to be exactly the same. But, more or less,
 3   BY MR. LAVINE:                                     3     there's a procedure that's followed, and, more or
 4       Q. SO am I right though that you have no       4     less, you can look at the arrays that we have and
 5   opinion regarding the level of precision that      5     come to the conclusion that for the most part,
 6   would be necessary in order to extrapolate from    6     not a hundred percent of the time, but for the
 7   the existing arrays?                               7     most part people are following those procedures.
 8          MR. BERLIN: Objection, form.                8     And you give me that and say well, I'm going to
 9          THE WITNESS: I don't think that's           9     then assume everybody else also follows those
10   accurate.                                         10     procedures, I don't have that much of an
11          What I have said now several times is      11     objection to that.
12   that when one makes an assumption, the assumption 12            Again, it's going to depend on what the
13   needs to be reasonable.                           13     evidence is that you give me that there are these
14          The standard for the reasonableness of     14     procedures and everybody's following. You know,
15   the assumption is can you point to some evidence, 15     give me a basis and then let's kick around
16   any kind of evidence, that says that this         16     whether it's reasonable or not.
17   assumption is reasonable, has a basis in the      17            But at this point Dr. Duggan hasn't
18   facts of the case, has a basis in the practices   18     given me any basis for that assumption. And the
19   in this case of the Medicare carriers, does it    19     evidence that we do have suggests it's a very bad
20   have any basis whatsoever.                        20     assumption. And that's what my objection is.
21          I am certainly not, I'm an economist,      21     BY MR. LAVINE:
22   I'm not saying that you can do analyses all the   22        O. What is the standard that vou're going
                                             Page 251                                                 Page 253

 1   time, that you can always do analyses without       1    to hold professor Duggan to beyond just saying
 2   making assumptions.                                 2    that what he does needs to be reasonable?
 3          I mean economists, and I'm included in       3           MR. BERLIN: Objection, form.
 4   this, we make assumptions in our analyses all the   4           THE WITNESS: I did not say what he
 5   time.                                               5    does needs to be reasonable.
 6          But one ofthe criticisms of Dr. Duggan       6           I said that his, the assumptions that
 7   is he makes assumptions, he doesn't always spell    7·   he makes need to have a reasonable basis in fact,
 8   out the assumptions that he's going to be making.   8    that you're just not making some assumption
 9   And when he doesn't spell out the assumptions        9   because it's convenient but you have every reason
10   that he's going to be making, or when he does or    10   to believe as I believe we have here to think
11   doesn't spell out the assumptions he's going to     11   that this assumption is not valid.
12   be making, he rarely if ever provides the basis     12   BYMR. LAVINE:
13   for the assumption that he's making.                13      Q. SO if Professor Duggan had a reasonable
14          So that's where I'm at on the Medicare       14   basis in fact regarding his assumption that the
15   arrays, is I might believe him ifhe can give me     15   Abbott products were used in the other arrays,
16   documents, if he can give me testimony, if you      16   then that would be an acceptable methodology, and
17   all can provide an affidavit that says that         17   your problem is he did not articulate that for
18   there's standard practice for this, these arrays    18   you?
19   followed the standard practice, everybody else      19          MR. BERLIN: Objection, form.
20   follows the standard practice, I'm not going to     20          THE WITNESS: We're on to a different
21   have much of a problem with that.                   21   subject now. I mean what we were talking about
22          But that's not going to be, and that's       22   before was the arrays he does have versus the
                                                                              64 (Pages 250 to 253)

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 1   arrays that he doesn't have, right.                1   arrays, and that the arrays that Dr. Duggan had
 2          But I am in basic agreement with you        2   in his possession, again, not a hundred percent
 3   that if he says here's the assumption I'm going    3   of the time but the vast majority of the time
 4   to make about the similarity or lack of            4   it's clear that these carriers followed those
 5   similarity of the arrays I do have to the arrays   5   regulations in constructing those arrays.
 6   I don't have, and he's made that assumption, he    6           And so then he says in his report well,
 7   hasn't stated it but he's made the assumption      7   everybody that I do have is following these
 8   that the arrays I don't have look like the arrays  8   regulations fairly closely, so I think it's a
 9   that I do have. He hasn't stated it but you can    9   reasonable assumption to make that the people
10   figure that out that he is assuming that, and he  10   that I don't have also followed these regulations
11   says in his report here's why I think making that 11   reasonably closely. So I'm going to assume that
12   assumption makes sense.                           12   the arrays that I have are the same as the arrays
13          To me, an unacceptable reason why this     13   that I don't have.
14   assumption makes sense would be something like I 14            He and I could kick that one around and
15   don't have anything else to do, this is all I     15   I may well come to agree with him yeah, under the
16   got, and I got to use the arrays I have, and I'm  16   circumstances that's reasonable because the
17   just stuck with it, and so whether it's right or  17   evidence that we have both of the regulations and
18   wrong I just got to use these arrays.             18   how those regulations are or are not reflected in
19          That's not a reasonable basis for          19   the arrays that we have matches up well enough
20   making the assumption. An assumption is a         20   such that yeah, okay, I can see that being
21   rebuttable presumption.                           21   reasonable.
22          So if he then were to sav in his report    22           But we're in a situation now where he's
                                           Page 255                                                  Page 257

 1   well, everybody knows that arrays are all          1   just simply making an assumption, and he's
 2   constructed in the same way, everybody knows that 2    provided me, not provided to me, he provides the
 3   Medicare has been on the phone with these folks,   3   reader with no basis for why that should be
 4   and everybody knows that there's some standards    4   reasonable.
 5   that are applied to these arrays, so the ones      5          And, the evidence that he does have in
 6   that I don't have are going to be just like the    6   his possession, the arrays that he does have,
 7   ones that I do have, okay, that's a basis.         7   suggests that that assumption is not reasonable
 8          Then we get to kick around whether it's     8   because these arrays vary greatly in the way that
 9   reasonable or not. And one measure whether it      9   they're constructed and the way that they're put
10   will be reasonable, okay, let's look at the       10   together across carriers and across time.
11   arrays that you do have, are they constructed the 11   BY MR. LAVINE:
12   same way, do they have the same number,           12       Q. And another consequence of that issue
13   constructed the same way, are they constructed    13   is that there would have been no way for Abbott
14   according to the standard that you say has been   14   to have known whether it would have gotten a
15   communicated to the carriers by CMS or HCFA or 15      benefit from any alleged AWP manipulation?
16   whoever is in charge at the time.                 16          MR. BERLIN: Objection, form.
17          If it does, fine. Then we may well         17           THE WITNESS: No. That's not quite
18   agree that this was a reasonable assumption with  18   what I said.
19   a reasonable basis.                               19   BY MR. LAVINE:
20          An example of a more reasonable basis,     20       Q. I apologize. Correct me.
21   as I've said before, is that if there were        21       A. No, that's okay.
22   Medicare regulations that said here's how you do  22          What I was saying was because of the
                                                                             65 (Pages 254 to 257)
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